                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               NORTHERN DIVISION
                                  2:21-CV-34-JG

LILLIE BROWN CLARK, Administrator for )
the Estate of Andrew Brown, Jr.,      )
                                      )
               Plaintiff,             )
                                      )
               v.                     )                              ORDER
                                      )
DANIEL MEADS, Investigator, in his    )
individual capacity, et al.,          )
                                      )
               Defendants.            )

       Plaintiff shall file a reply to defendants’ response (D.E. 120) to plaintiff’s latest motion

(D.E. 119) for attorneys’ fees as soon as practicable, but in no event later than 29 July 2022.

The reply should be supported by declarations or other evidence where warranted to support the

motion.

       While the reply must address the response comprehensively, of particular concern to the

court is the absence from the record of evidence or legal citation supporting plaintiff’s

contention that plaintiff’s counsel’s “40% fee agreement is standard for civil rights litigation

across the country due to complex civil rights litigation and hours of lawyers’ services civil

rights cases requires.” Mem. Supporting Fee Mot. (D.E. 119-1) 6. Although addressed at the

hearing in this case on 7 July 2022 (see D.E. 117), this contention was not asserted in the first

two versions of the motion filed by plaintiff seeking attorneys’ fees. See D.E. 111 ⁋ 6; D.E. 114

⁋ 6.

       The court also notes that while each of the four counsel of record for plaintiff provided

their “normal” hourly rates in their statements supporting the motion, the approximate number

of attorney hours expended that is provided is not for each of these lawyers individually, but



          Case 2:21-cv-00034-JG Document 126 Filed 07/22/22 Page 1 of 2
    instead is the total number for their respective firms. See Sellers Aff. (D.E. 119-2) ⁋⁋ 5, 7;

    Daniels Decl. (D.E. 119-3) ⁋⁋ 9, 11; Chance Stmt. (D.E. 119-4) ⁋⁋ 5, 7; Cherry-Lassiter Stmt. (D.E.

    119-5) ⁋⁋ 5, 7.1 Further, there is no representation in argument or evidence regarding the ability of

    plaintiff to pay for attorneys’ services at hourly rates. The hourly rates provided therefore appear

    to be of limited relevance.

           The expenses claimed by plaintiff’s counsel are stated as $41,832.52 in plaintiff’s initial

    motion (D.E. 111 ⁋ 6) for attorneys’ fees, but subsequently as $43,428.77 (see, e.g., D.E. 114 ⁋

    6; D.E. 119-6). Plaintiff’s reply shall explain this discrepancy. In addition, plaintiff shall

    explain the nature of the $6,000.00 expert expense listed among the expenses of Attorney

    Sellers’ firm. See D.E. 114-3 at p. 3.

          SO ORDERED, this 22nd day of July 2022.


                                                                _________________________
                                                                James E. Gates
                                                                United States Magistrate Judge




1
  The documents filed as purported declarations of Attorneys Chance D. Lynch (D.E. 119-4) and Chantel Cherry-
Lassiter (D.E. 119-5) do not contain the language required by 28 U.S.C. § 1746 to give them the effect of a sworn
statement. If plaintiff wants the court to treat the statements in these documents as sworn statements, plaintiff must file
revised versions containing the language required by § 1746 or bearing the appropriate notarial certification as having
been attested to.

                                                            2

              Case 2:21-cv-00034-JG Document 126 Filed 07/22/22 Page 2 of 2
